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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

THIRD JUDICIAL DISTRICT AT ANCHORAGE
Blane A. Chism,
Plaintifi,

vs_ case No. 3AN-16-o'G‘-T)~ab cl
Providence Healtn &
Servioes-Wasnington, d/b/a
Providenoe Alaska Medical
Center, a Washington
Corporation doing business in
Alaska,

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Defendant.

 

Complaint for Medical Malpractioe

COME NOW plaintiff and alleges as follows:

l. At all times relevant, plaintiff Blane Chism
[hereinafter "Blane"] was an adult resident of Anchorage, Alaska.

2. Upon information and belief, defendant Providence
Health & Services-Washington [hereinafter "Providenoe“] is a non-
profit corporation orgatized and existing under the laws Of the
State of Washington.

3. Providence owns and operates several health-care
facilities in Alaska, including a hospital in Anohorage doing
business as the Providence Alaska Medical Center [hereinafter

"PAMC“].

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4. At all times pertinent, Jennifer ?errin [hereinafter

"Perrin"] was and is a licensed registered nurse in the State of
Alaska, and employed by Providence.
5. Upon information and oeiief, Nurse Pe:rin was, at all
times pertinent, an employee and/or agent of defendant ?rovidence,
and acting within the scope of that employment and/or agency
during the actions and events giving rise to this action.

6. Jurisdiction in this court is proper under AS 22.10.020.

7. Venue is proper under AS 22.10.030 in conjunction with
Alaska Civil Ruie 3{c){l).

B. On April 25, 2016, Blane's nepnrologist determined that
he [Blane] had a low serum calcium level and required a calcium
chloride 1':"-.fusion.

9. B`-_ane's nephrologist referred him to PAMC‘s emergency
room to get the requisite infusion.

lO. On April 25, 2016, Blane presented himself at the PAMC
emergency room, and was received there by nurse Perrin.

ll. Ait`nough Perrin briefly assessed Blane, she did not
adequately assess the fact that he had fistulas in both his right
and left upper appendages, nor did she report the fistulas to any
of her supervisors.

12. Perrin proceeded to administer the calcium chloride
infusion through a peripheral IV in Blane's right hand.

13. During a vesicant infusion of this type, the IV site
must be frequently assessed to ensure proper placement, and to
ensure against infiltration and extravasation -- a situation where
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IV medicines do not properly flow into the target vein but instead
leach into surrounding tissues.

l4. Calcium chloride is a known vesicant, i.e., a blistering
agent that, if infiltrated or extravasized, can cause serious and
irreversible injury and death of tissue [necrosis].

15. Perrin did not properly place the IV initially, and did
not ensure proper placement thereafter.

16. As a direct and proximate result of the misplaced IV,
infiltration and extravasation of the calcium chloride occurred.

l?. Although PAMC personnel discharged Blane, he returned
to the hospital twice, presenting with ecchymosis [purplish
discoloration], swelling, numbness, pain, and shaking in his right
hand at the site of the IV -- all signs and symptoms consistent
with infiltration and extravasation of calcium chloride.

18. Finally, on the morning of` April 26, 2016, a PAMC
physician diagnosed an extravasation injury; he began treatin
the injury as an extravasation, and commenced administration of
Hyaluronidase.

19. PAMC personnel also admitted Blane into the PAMC
hospital as an in-patient for treatment of the necrotic lesion on
his right hand caused by the extravasation.

20. Blane underw nt multiple surgical treatments of the
lesion.

21. Defendant Providence‘s agents and/or employees, failed

to meet the standards of care expected of them in their respective

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professions and fields of specialtyr including, but not limited
to, the following lapses:
a. Failing to fully and properly assess and select an
appropriate site for the IV so as to minimize the risk
of infiltration and extravasation:
b. Failing to properly place the IV initially, and
failing to ensure proper placement thereafter so as to
prevent infiltration and extravasation;

22. "f`nese,l and other errors and omissions constitute a
breach of the duty of care ordinarily exercised under the
circumstances by health care professionals in the disciplines and
specialties being practiced.

23. As a direct and proximate result, plaintiff Chism has
suffered, and will suffer, personal injuries and damages,
including, but not limited to:

a. Physicai pain and suffering cause by an unsightly

necrotic wound at the site of the IV;

b. Severe and permanent disfigurement and or
impairment:
c. Emotional distress and psychological injury;
d. Medical- and treatment"related expenses;
e. Economic losses, including lost wages and
earnings.

24. Defendant ?rovidence is liable to plaintiff for

professional negligence in the minimum amount of $100,000 each,
the exact amount to be proved at trial.

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25. Defendant's oversights, errors, and omissions
constituted an extreme deviation from the standard of care - and

recklessness for purposes of AK 09.55.549{f).

WHEREEORE, plaintiff prays for judgment as follows:

l. For compensatory damages in his favor against the named
defendant;

2. For costs and attorney's fees, as appropriate.

3. For such other relief as the court may deem just and
proper.

DATED this le day of September, 2016 at Anchorag ,

Alaska. LAW OFFICES OF DAVID H DERSON

 

By:

 

David Henderson #9806014

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